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                        NOs. 21-36024, 21-36025
               UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT
     UGOCHUKWO GOODLUCK NWAUZOR, FERNANDO
AGUIRRE-URBINA, individually and on behalf of those similarly situated,
                                               Plaintiffs-Appellees,
                                    and
                      STATE OF WASHINGTON,
                                                 Plaintiff-Appellee,
                                     v.
                        THE GEO GROUP, INC.,
                                                 Defendant-Appellant.
                       ON APPEAL FROM THE
                UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF WASHINGTON
                            AT TACOMA
                Nos. 3:17-cv-05769, 3:17-cv-05806-RJB
                    The Honorable Robert J. Bryan
                  United States District Court Judge

         STATE OF WASHINGTON’S ANSWERING BRIEF

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                           I.    INTRODUCTION

      When the Supreme Court upheld Washington’s first minimum wage laws

from constitutional challenges nearly a century ago, it recognized: “The

exploitation of a class of workers who are in an unequal position with respect to

bargaining power, and are thus relatively defenseless against the denial of a

living wage, is not only detrimental to their health and wellbeing, but casts a

direct burden for their support upon the community.” W. Coast Hotel v. Parrish,

300 U.S. 379, 399 (1937). Because “[t]he community is not bound to provide

what is, in effect, a subsidy for unconscionable employers[,]” the Supreme Court

concluded that Washington “may direct its law-making power to correct the

abuse which springs from [employers’] selfish disregard of public interest.” Id.

at 399–400. Through this action, Washington seeks to correct GEO’s practice of

paying people only $1 per day for work that sustains its private business, and to

address the consequent harms to Washington’s local workforce.

      At trial, Washington brought two claims and prevailed on both. First,

Washington enforced its Minimum Wage Act (MWA)—a neutral state law that

existed decades before GEO set foot in Tacoma, Washington. As a remedial

statute that is broadly interpreted, the MWA requires employers to pay the

minimum wage to any person employed, or “permit[ted] to work.”




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Wash. Rev. Code § 49.46.010(2). Following three weeks of evidence about

GEO’s creation and management of a work program at its private detention

facility, a unanimous jury found that GEO employs detained people and must

pay them the minimum wage. In the bench trial that followed, the district court

considered GEO’s “extensive record of abuse” of the work program and the

detained people who labored in it, and concluded that GEO unjustly enriched

itself in violation of state common law. 1-ER-29.

      Now, on appeal of those judgments, GEO largely ignores the facts proven

below about its exploitation of detained workers, and instead offers a kitchen

sink of defenses that seek to use the federal government and federal law as a

shield for its state law violations. They are each meritless. The MWA covers

GEO—a purely private entity that is not within any of the narrow exemptions in

the statute. GEO experiences no regulation or discrimination because of its status

as a federal contractor. Congress has never expressed a clear and manifest intent

to preempt Washington’s historic power to set minimum wages. And, since the

federal government explicitly instructed GEO to comply with state labor laws

and provided GEO discretion to set detainee wages, GEO cannot claim

derivative sovereign immunity. The district court did not err in refusing to




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overturn the jury’s verdict or in determining that GEO was unjustly enriched.

This Court should affirm.

               II.   COUNTERSTATEMENT OF THE ISSUES

      1.       Did substantial evidence support the jury’s verdict that GEO

violated Washington’s MWA by permitting people to work and only paying

them $1 per day for work performed?

      2.       Was   the    district   court   correct   in   dismissing   GEO’s

intergovernmental immunity defense where the MWA does not regulate the

federal government directly and does not discriminate against federal

contractors?

      3.       Was the district court correct in concluding Congress’s general

exercise of appropriation authority is not enough to show clear and manifest

intent to preempt Washington’s traditional and longstanding authority to

regulate wages?

      4.       Was the district court correct in dismissing GEO’s derivative

sovereign immunity defense where GEO violated the federal government’s

explicit instructions to follow state laws and admitted it had the option to pay

more than $1 per day?




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      5.     Was the district court correct in concluding GEO was unjustly

enriched when it permitted detainees to work for $1 per day instead of hiring

workers from the Tacoma area?

      Relevant constitutional provisions and statues are set forth in the statutory

addendum. See infra pp. A1–A9.

                     III.   STATEMENT OF THE CASE

      GEO owns and operates a private detention facility in Tacoma,

Washington. 1-ER-68. There, GEO provides U.S. Immigration and Customs

Enforcement (ICE) with detention management services, including daily bed

space for up to 1,575 immigrant detainees and all related services. Id. GEO refers

to its Tacoma facility as the Northwest ICE Processing Center (NWIPC). Id.

      Immigrants detained at the NWIPC are held because they are awaiting an

administrative review of their immigration status, not because they have been

charged with or convicted of any crime. Id. Some detainees lack immigration

status, while others are lawful permanent residents with work authorization.

1-SERWA-137:24–138:10, 139:8–140:3, 141:5–142:4. While ICE detains some

immigrants in federally owned and federally operated facilities, such as the

Federal Detention Center in SeaTac, Washington, see U.S. Immigration &

Customs Enforcement, Detention Facilities, https://www.ice.gov/detention-




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facilities?state=28&office=&name=, ICE also contracts with private companies,

like GEO, for detention management services.

         The services GEO agreed to provide to ICE with respect to the NWIPC

are established by contract, along with ICE’s expectations of GEO. That contract

obligates ICE to pay GEO a fixed rate for each day an immigrant detainee is

housed at the NWIPC, with a minimum guarantee that ICE will always pay GEO

the rate for 1,181 beds, regardless if there are fewer people actually there.

2-SERWA-325. Trial evidence established that, in the five years before the

lawsuit, GEO generated between $5.9 million and $11.7 million in net profits

per year from the NWIPC. 2-SERWA-428; 1-SERWA-207:7–14, 208:24–

214:3.

         In exchange, the contract requires GEO to provide “nutritious, adequately

varied meals,” to “launder and change linens” regularly, and to ensure the facility

is “clean and vermin/pest free.” 2-SERWA-380–81, 406. GEO agreed under the

contract to perform these detention management services in accordance with

specific     statutory,   regulatory,   policy,   and   operational    constraints.

2-SERWA-366–67. Specifically, GEO agreed to perform these services in

accordance with the ICE/DHS Performance Based National Detention Standards

(PBNDS) and “all applicable federal, state, and local laws”—including “state



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and local labor laws[.]” 2-SERWA-367. “Should a conflict exist between any of

these standards,” the contract requires GEO to comply with “the most stringent”

law or standard. 2-SERWA-375.

      Section 5.8 of the PBNDS require GEO to maintain a “Voluntary Work

Program” whereby GEO “provides detainees opportunities to work and earn

money.” 2-SERWA-303. Beyond calling for a work program to be offered, the

PBNDS prescribe little else—leaving the design and all daily management of the

facility’s work program up to the facility administrator. 2-SERWA-30406. The

facility administrator is GEO’s top employee at the facility, which at the NWIPC

is Bruce Scott. 1-SERWA-176:5–12. It is thus GEO that must “develop site-

specific rules for selecting work detail volunteers,” “establish procedures for

informing detainee volunteers about on-the-job responsibilities,” and “develop

and institute appropriate training for all detainee workers.” 2-SERWA-304–06.

In return for their work, GEO must compensate detainees “in accordance with

the facility’s standard policy,” but the PBNDS do not dictate how much

detainees must be paid. ICE only sets a floor for payment, requiring that payment

be “at least $1.00 (USD) per day.” 2-SERWA-305.

      From the day the work program at the NWIPC began operating in 2005

until the day GEO suspended it on October 28, 2021, GEO developed, managed,



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and ran it. 1-SERWA-58:13–66:21; 2-SERWA-314–20; 1-ER-69; 2-ER-217. In

creating the work program, GEO management determined the work schedules,

set the training requirements, and drafted the job descriptions for every single

job. 1-SERWA-58:13–66:21; 2-SERWA-314–20; 1-SERWA-6:1–25, 30:24–

41:20; 2-SERWA-431. GEO management identified the work required to

operate the facility and assigned detainees to do that work, including assigning

detainees to serve food and clean the kitchen, to fold industrial sized bins of

laundry and distribute it around the facility, and to complete all janitorial tasks

on the secure side of the facility, including mopping, buffing and waxing floors,

and scrubbing toilets and showers. Id. GEO trained and supervised detainee

workers on the job and provided them all necessary uniforms, materials, and

equipment. 1-SERWA-124:19–126:13; 1-SERWA-67:21–68:10; 2-SERWA-

283–301.

      In exchange for detainee workers completing the tasks that GEO was

being paid by ICE to perform under the contract, GEO chose to pay detainee

workers $1 per day for their work. 1-ER-69; 2-SERWA-429. GEO did so even

though the PBNDS allowed GEO to pay more and state law, which ICE told

GEO it must follow, required it. See 2-SERWA-305, 367, 375. The contract

provision related to the work program specifically requires GEO’s compliance



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“with all applicable laws and regulations.” See 2-SERWA-405. With respect to

the detainee workers’ wages, ICE officials told GEO in writing that $1 per day

was the floor and “there [wa]s no maximum.” 2-SERWA-464. And at times,

GEO indeed paid more when it was advantageous to the company; for example,

GEO paid $2 or $5 per day when it needed more detainee workers because the

supply of workers was low due to hunger strikes or a chicken pox outbreak.

1-SERWA-37:13–39:23, 45:22–46:21; 2-SERWA-322–23. Once it could,

however, GEO always returned to its preferred $1 per day rate because, as

GEO’s executive testified, any amount GEO paid over the $1 per day was “on

GEO’s dime.” 1-SERWA-249:10–15.

      GEO cites contract language to suggest it was ICE that had “sole

responsibility” over the work program, including its rate of pay. GEO Br. at 7;

see also 2-SERWA-405. But the contract provisions cited above and the trial

evidence showed otherwise. ICE never reviewed or signed off on any of the job

descriptions set by GEO. See 1-SERWA-58:13–66:21; 2-SERWA-314–20.

When detainees complained to ICE about the work program, ICE responded:

“This is a GEO issue. You have to report it to GEO.” 1-SERWA-190:15–192:9;

2-SERWA-473. When GEO specifically asked ICE to reimburse GEO for its

legal costs to defend the work program’s $1 per day compensation rate in this



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case and others, ICE flatly rejected GEO’s request. 1-SERWA-267:10–17. In

fact, the GEO employee that managed the work program on a day-to-day basis

testified at trial that, during her fifteen-year tenure, she frequently changed and

expanded the work program to meet GEO’s needs. 1-SERWA-42:18–45:5. She

ran the work program under GEO’s own authority without ever once having a

conversation with an ICE employee about how the program should operate.

1-SERWA-44:17–45:5. And, not surprisingly, ICE never audited for GEO’s

compliance with state wage law, because compliance with state law was

assigned by contract to GEO. 2-SERWA-366–67.

      GEO’s work program, according to its own witnesses and documents,

employed more than 470 detainees each day who worked around the clock. 2-

SERWA-308. During the day, detainees completed all of the janitorial work on

the secure-side of the facility, including the intake area, the law library, the

medical rooms, the visitation areas, and the living areas. 1-SERWA-53:22–

55:11. In the living areas, detainees cleaned communal toilets, disinfected tables,

and cleaned showers by scrubbing walls and picking hair out of drains. 1-

SERWA-145:18–149:6, 172:17–173:4. When the facility expanded, GEO

assigned additional detainees to work the barbershop and the indoor and outdoor

recreation areas. 1-SERWA-25:18–26:2, 71:23–72:5, 259:19–260:13. At night,



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detainees stripped, waxed, and buffed floors in the hallways and living areas,

and deep-cleaned the kitchen on graveyard shifts. 1-SERWA-22:4–23:3, 26:11–

25. Because GEO’s staffing plan included less than three laundry officers, see 2-

SERWA-424–27; 1-SERWA-215:10–219:14, 220:25–224:7, GEO relied

overwhelmingly on detainees to work in the laundry, sorting and folding bed

linens, plus five sets of shirts, pants, socks, and underwear for up to 1,575 people.

See 1-SERWA-232:12–233:18. In order to prepare and serve three meals per day

for the entire facility population, and because GEO’s staffing plan included only

thirteen GEO officers in its kitchen, see 2-SERWA-424–27, GEO relied

additionally on nearly one hundred detainees each day, working three shifts, to

prepare food, carry heavy pots and pans, cook and serve meals, and wash dishes.

See 1-SERWA-98:11–113:13, 187:1–189:6; 2-SERWA-308.

      Ignoring its substantial reliance on “employed” detainees to complete its

own core functions at the NWIPC, see 2-SERWA-429, GEO instead extolls the

pedagogical purpose of the work program and its value to detainees. See GEO

Br. at 9. But GEO introduced no data at trial to support its contention that the

work program “lead[s] to fewer disciplinary incidents” than in immigration

detention facilities without work programs. See GEO Br. at 10. And, the

detainees themselves nowhere testified that they sought “more direct and



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personalized interaction with the security staff” or that the work program was “a

source of pride” that allowed them “to take ownership of their surroundings.” Id.

Instead, detainee workers testified that they worked tedious, dirty, and difficult

jobs for GEO, see 1-SERWA-83:14–84:2, 145:18–148:25, because they

“need[ed] the money desperately” to supplement the food provided, to pay for

immigration attorneys, and to “pay for calls to [] family asking for help.”

1-SERWA-145:7–17, 150:1–9, 193:15–194:17.

       In contrast, Washington has no private contractors running state prisons

or detention centers. 1-ER-79–80 (trial court contrasting GEO, a “private

company and not a governmental entity,” with evidence of “the State’s detention

activities,” which are publicly run); see also Wash. Rev. Code § 72.68.110(1)

(prohibiting state contracts with private correctional entities). At the first trial in

this matter, State witnesses testified about work programs in Washington’s

government-operated custodial facilities. See 1-SERWA-270:19–25, 275:19–

280:2. Those programs are for persons who have been convicted of crimes, who

are civilly committed because of their risk of future sexual violence, or who are

disabled and need specialized services in order to live in a community setting.

Washington’s work programs are tailored to the individual detainee’s treatment

and reentry plan, or else are training programs for disabled residents to assist in



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their reintegration in the community. Id. The evidence at trial showed that GEO’s

work program, by contrast, operated substantially to fulfill “the core work

required of GEO under the contract,” and provides no programming designed to

benefit the detainees or the larger community. 1-SERWA-253:10–13;

1-SERWA-73:4–75:20.

                       IV.   STANDARD OF REVIEW

      A “jury’s verdict must be upheld if it is supported by substantial evidence,

which is evidence adequate to support the jury’s conclusion, even if it is also

possible to draw a contrary conclusion.” Harper v. City of Los Angeles,

533 F.3d 1010, 1021 (9th Cir. 2008) (quoting Pavao v. Pagay, 307 F.3d 915,

918 (9th Cir. 2002)). Although a challenge to jury instructions is reviewed de

novo, the court “will not reverse a judgment because of an erroneous instruction

if the instructions [as a whole] fairly and adequately cover the issues.” Martin v.

Cal. Dep’t of Veterans Affs., 560 F.3d 1042, 1046 (9th Cir. 2009). The Court

reviews grants or denials of motions for judgment as a matter of law de novo.

S.E.C. v. Todd, 642 F.3d 1207, 1215 (9th Cir. 2011).

      “Following a bench trial, the judge’s findings of facts are reviewed for

clear error” and the conclusions of law are reviewed de novo. Lentini v. Cal. Ctr.

for the Arts, 370 F.3d 837, 843 (9th Cir. 2004) (citation omitted); Lee v. W. Coast




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Life Ins. Co., 688 F.3d 1004, 1009 (9th Cir. 2012). A reviewing court will

“reverse only if the district court’s findings are clearly erroneous to the point of

being illogical, implausible, or without support in inferences from the record.”

Yu v. Idaho State Univ., 15 F.4th 1236, 1241–42 (9th Cir. 2021) (citation

omitted).

                  V.     SUMMARY OF THE ARGUMENT

      The MWA requires all employers pay the minimum wage to those it

employs, or permits to work. See Wash. Rev. Code § 49.46.010(2). Since

substantial evidence at trial showed GEO permitted people to work, and no

exemption applies, GEO must compensate detainee workers the minimum wage

going forward and pay back the amount it was unjustly enriched. Each of GEO’s

five arguments to avoid the application of Washington’s claims must fail.

      Minimum Wage. GEO does not attempt to identify specific error in the

district court’s jury instructions as to the MWA claim or challenge the jury’s

determination that GEO permits detainees to work and thereby employs them.

Nor could it. The district court’s jury instructions accurately set out the MWA’s

statutory definitions of employment and overwhelming evidence supported the

jury’s finding that GEO permitted detainees to work while paying them only $1

per day. See 1-ER-42–43.




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      Instead, GEO argues that the NWIPC detainees cannot be GEO’s

employees as a matter of state law because they are detained, period. But, to look

to the Fair Labor Standards Act (FLSA), a different law, and apply an extra-

statutory exemption the Fourth Circuit created, as GEO requests, would conflict

with the MWA’s plain language and stated legislative intent. Cf. Ndambi v.

CoreCivic, Inc., 990 F.3d 369 (4th Cir. 2021). Unlike the FLSA, the MWA

already contains an explicit and narrow exemption for individuals held in

government institutions—and not those in private facilities such as the NWIPC.

See Wash. Rev. Code § 49.46.010(3)(k). And, as an en banc panel of this Court

has held, even the FLSA may entitle detainees to the minimum wage where, as

here, they are not legally compelled to work as part of a criminal sentence. See

Hale v. Arizona, 993 F.2d 1387, 1393 (9th Cir. 1993) (en banc).

      Intergovernmental Immunity. Nor does application of the MWA raise any

intergovernmental immunity concerns. GEO attempts to cloak itself in the

federal government’s immunity based on the nature of GEO’s business, i.e.,

providing detention management services to ICE. But no matter how many times

GEO attempts to equate federal contractors with the federal government, GEO

remains a private business that is not entitled to the same sovereign immunity as

the federal government. See, e.g., United States v. New Mexico, 455 U.S. 720,



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734–35 (1982) (no immunity for a contractor who used federal property “in

connection with commercial activities carried on for profit”) (citation omitted).

      To be sure, a state law cannot discriminatorily burden the federal

government by targeting federal contractors with more stringent regulatory

requirements, but Washington’s MWA does no such thing. The MWA applies

to GEO because GEO is a private business doing business in Washington—not

because GEO does business with the federal government. See id. (“[T]he limits

on the immunity doctrine are, for present purposes, as significant as the rule

itself.”). Since GEO is not the federal government, and Washington’s MWA

nowhere targets private companies that do business with the federal government,

GEO is not entitled to intergovernmental immunity. See North Dakota v. United

States, 495 U.S. 423, 435 (1990) (plurality); United States v. Nye County,

178 F.3d 1080, 1088 (9th Cir. 1999) (rejecting intergovernmental immunity

where the state law operated to “giv[e] an advantage to public educational

institutions vis-à-vis private ones” and did not “benefit the state at federal

expense”).

      Preemption. The presumption against preemption applies here because the

MWA is an exercise of the state’s historic police power to protect the health and

safety of its residents. In exercising its general appropriations authority in 1978,



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Congress did not express any intent, let alone a clear or manifest one, to set

detainee wages in private detention facilities and displace state minimum wage

law. Cf. 8 U.S.C. § 1555. Vague references to the federal government’s

immigration authority and an expired congressional appropriations act fail to

prove that the MWA conflicts with any federal statute or objective. See United

States v. California, 921 F.3d 865, 872–73 (9th Cir. 2019).

      Derivative Sovereign Immunity. GEO also is not entitled to the limited

“derivative” immunity that is available to certain federal contractors. ICE

provided GEO the discretion to set up and manage the work program at issue

here, including the clear discretion to set detainee pay. As part of the contract for

services, the federal government explicitly instructed GEO to comply with all

state labor laws. Since GEO and GEO alone chose to pay detainees $1 per day

for work performed, in violation of its federal contract and state law, derivative

sovereign immunity does not shield GEO from liability. See Cabalce v. Thomas

E. Blanchard & Assocs., Inc., 797 F.3d 720, 732 (9th Cir. 2015).

      Unjust Enrichment. GEO was unjustly enriched by its practices. The

MWA provides back wages as a remedy, but back wages do not address the

harms imposed on Tacoma-area job seekers who lost out on job opportunities

when GEO chose to run its business using a captive and vulnerable labor force.



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Because the legal remedy of back wages is incomplete, and all three prongs of

the equitable claim were met, the district court correctly found unjust

enrichment. See Young v. Young, 191 P.3d 1258, 1263 (Wash. 2008).

                              VI.    ARGUMENT

A.    GEO Violated Washington’s MWA by Employing Detainee Workers
      and Paying Them $1 Per Day

      1.     Washington’s MWA applies to GEO—just like all for-profit
             businesses in Washington that permit a person to work

      Washington first enacted a statewide minimum wage in 1913 for women

and minors, and subsequently expanded those protections through the law that

became Washington’s current MWA. Hill v. Xerox Bus. Servs., LLC, 426 P.3d

703, 708 (Wash. 2018). Washington’s Legislature, in passing the MWA,

declared that minimum wage laws are necessary to protect “the health, safety

and the general welfare of the citizens of this state,” and to “encourage

employment opportunities within the state.” Wash. Rev. Code § 49.46.005(1).

To further its statutory purposes, Washington courts make clear that the MWA

is remedial in nature and must be “liberally construe[d] . . . in favor of workers’

protections and their right to be paid a minimum wage for each hour worked.”

See Hill, 426 P.3d at 709. See also Int’l Ass’n of Fire Fighters v. City of Everett,

42 P.3d 1265, 1267 (Wash. 2002) (requiring “the statute’s provisions ‘be




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liberally construed in favor of the employee and that its exceptions be narrowly

confined’”) (cleaned up).

      The question in this case is whether GEO employs detainee workers who

labor at the NWIPC. The MWA defines “employ” broadly as “includ[ing] to

permit to work.” See Wash. Rev. Code § 49.46.010(2). “Employee” is defined

as “any individual employed by an employer,” save for explicit exceptions that

“are narrowly construed and applied only to situations which are plainly and

unmistakably consistent with the terms and spirit of the legislation.” See Wash.

Rev. Code § 49.46.010(3); Drinkwitz v. Alliant Techsystems, Inc., 996 P.2d 582,

587 (Wash. 2000). Thus, the Washington Supreme Court has stated in no

uncertain terms: “‘[U]nder the MWA, an employee includes any individual

permitted to work by an employer.’” Becerra v. Expert Janitorial, LLC, 332 P.3d

415, 420 (Wash. 2014) (emphasis added) (quoting Anfinson v. FedEx Ground

Package Sys., Inc., 281 P.3d 289, 297 (Wash. 2012)).

      Under these straightforward statutory protections, the district court’s jury

instructions were correct and the jury’s verdict that detainee workers at the

NWIPC are GEO’s employees was amply supported. It is, in fact, the only

reasonable conclusion the jury could have reached. For example, the trial

evidence made clear that GEO’s compliance manager set up the NWIPC’s work



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program from scratch, deciding what jobs detainee workers would be allowed to

work and developing job descriptions for “cook/prep/server,” “dishwasher,”

“laundry,” “barber,” “barbershop cleaner,” and “pod porter.” See 1-SERWA-

58:13–66:21; 2-SERWA-314–20. GEO officers trained detainees using the

GEO-created job descriptions, and detainees acknowledged that training by

signing the job description. 1-SERWA-17:13–18:9, 170:5–17. GEO’s

Classification Officer created work assignments, assigned detainees based on

how many workers were needed, and tracked the average time each work

assignment took to complete. 1-SERWA-90:24–92:18, 93:23–95:21, 123:18–

23; 2-SERWA-308, 431–63.

      GEO’s claim, therefore, that “the Federal Government controls the

VWP,” is not remotely supported by the evidence. See GEO Br. at 24. GEO—

and GEO alone—managed the work program on a daily basis, processing the

detainees’ requests to work, addressing GEO officers’ requests for detainee

workers in specific areas, and distributing job assignments. See 1-SERWA-6:1–

8:18, 9:7–12:6, 13:11–16, 43:5–9; see also 1-SERWA-56:24–57:11. GEO

officers supervised all workers to ensure workers performed their job in a

satisfactory manner, and directed detainees to finish their work if they did an

incomplete job. 1-SERWA-67:21–69:22; see also 1-SERWA-88:8–89:4.



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      GEO maintained a “payroll” to compensate detainee workers through

direct deposits. See, e.g., 1-SERWA-19:11–19, 20:13–16, 21:21–22:3, 45:3-12,

198:2–9; 2-SERWA-310–13, 466–72. And for those workers who missed work

or did not perform the job satisfactorily, GEO fired or removed them from the

job. See, e.g., 1-SERWA-32:7–33:21, 130:2–13, 130:24–132:24. GEO

employees confirmed at trial that detainees could be “suspended for a week, or

permanently” if they did not do their job properly, see 1-SERWA-116:22–

117:19, and could be “terminated” or “fired” for “excessive absenteeism,”

“misconduct,” “theft,” or “unsatisfactory work performance,” 1-SERWA-

157:21–158:4, 171:6–21; 2-SERWA-309.

      In light of this evidence, the only reasonable conclusion is that GEO

permitted the detainees to work at the NWIPC and thereby employed them. The

district court properly denied GEO’s motion to set aside the jury’s well-

supported verdict on this point.

      2.     The MWA’s plain language precludes using a judicially created
             “custodial” exemption

      Unable to dispute the clear trial record, GEO claims the district court

committed “legal error” by declining to exclude from the MWA, as a matter of

law, all detainees working inside a detention facility. GEO’s argument is

twofold: (1) that the MWA must be interpreted exactly the same as the FLSA,


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and, (2) that people detained in a custodial context cannot be “employees” under

the FLSA as interpreted by the Fourth Circuit in Ndambi v. CoreCivic, Inc., 990

F.3d 369 (4th Cir. 2021). GEO’s arguments fail at both steps.

      First, the Washington Supreme Court has made clear that, while “federal

authority under the FLSA often provides helpful guidance . . . the MWA and the

FLSA are not identical and we are not bound by such authority.” Drinkwitz,

996 P.2d at 586; see also Weeks v. Chief of Wash. State Patrol, 639 P.2d 732,

734 (Wash. 1982) (“While we are free to use federal cases which interpret FLSA

provisions similar to our own, we are not bound by them.”). Indeed, FLSA

authority “cannot apply to the MWA” where the MWA’s plain language differs

from the FLSA. Carranza v. Dovex Fruit Co., 416 P.3d 1205, 1210

(Wash. 2018); see Drinkwitz, 996 P.2d at 586–87 (applying only those FLSA

definitions that “render a result consistent with Washington’s long and proud

history of being a pioneer in the protection of employee rights”).

      The FLSA and MWA are materially different here. While the FLSA and

MWA define “to employ” using similarly broad, but not identical, language, the

definition of “employee” under Washington’s MWA includes specific

exclusions that are markedly different than the FLSA. In particular, the

Washington Legislature already has determined when individuals in detention



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are exempt from coverage. Unlike the FLSA, the MWA contains an explicit

exemption that is limited to individuals held in government institutions. See

Wash. Rev. Code § 49.46.010(3)(k) (exempting only “resident[s], inmate[s], or

patient[s] of a state, county, or municipal correctional, detention, treatment or

rehabilitative institution”) (Government Institutions Exemption). By its plain

terms, that exemption does not extend to individuals held in private facilities

regardless of whether they are held under federal, state, or local authority. See

id. Indeed, GEO does not even argue that detainees at the NWIPC are excluded

from the MWA’s broad coverage under the plain language of Section

49.46.010(3)(k). Nor could it credibly do so. It is undisputed that the NWIPC is

privately owned and operated by GEO and is not a “state, county, or municipal

. . . institution.” 1-ER-68. GEO cites Anfinson v. FedEx Ground Package

Systems, Inc., to suggest that the MWA must be construed identically to the

FLSA, but in that case, the court looked to federal authority to interpret nearly

identical text of FLSA and MWA provisions to decide whether a worker was an

independent contractor—an exemption not already addressed in the MWA’s

statutory definition of “employee.” 281 P.3d at 297–98. That is not the case here,

because the MWA, unlike the FLSA, contains a detention-specific exemption.




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Cf. Wash. Rev. Code § 49.46.010(3)(k). That exemption, which is specific to

state law, is what governs this case.

       Although GEO asks the Court to follow out-of-circuit FLSA authority to

conclude that the “custodial context” is simply too different to qualify as

employment, such a conclusion would judicially rewrite—and have the effect of

substantially broadening—the scope of the Government Institutions Exemption,

which must be construed narrowly. Drinkwitz, 996 P.2d at 587. The Court should

decline GEO’s invitation and instead respect the plain terms of the exemption

passed by Washington’s Legislature. Carranza, 416 P.3d at 1210 (“As always

in cases of statutory interpretation, we look first to the plain language of the

statute to discern the legislature’s intent.”).

       GEO cites three Washington cases to suggest the MWA cannot apply to

any person who is “lawfully confined.” But none of these cases supports GEO’s

contention. In Hill v. Department of Labor & Industries, the intermediate state

appellate court held that a state Department of Corrections inmate who was

injured while working in prison was entitled to workers’ compensation.

253 P.3d 430, 434 (Wash. Ct. App. 2011). In calculating the payments, the court

merely noted that Hill had not been entitled to the minimum wage because he

was a state inmate. Id. at 436 (citing Wash. Rev. Code § 49.46.010(3)(k)). In



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Calhoun v. Washington, the same court considered a discrimination claim by a

detainee also held at a state-owned facility, and held that the detainee was not an

employee under state anti-discrimination law by analogizing to the Government

Institutions Exemption in the MWA. See 193 P.3d 188, 192–93 (Wash. Ct. App.

2008), as amended (Oct. 28, 2008) (citing Wash. Rev. Code § 49.46.010(3)(k)).

Neither Hill nor Calhoun considered a MWA claim brought by a detainee, and,

in any event, both involved individuals confined in government-owned facilities.

      In Lafley v. SeaDruNar Recycling, LLC, the state appellate court held in

an unpublished decision that Washington’s MWA did not apply to work

conducted as part of a rehabilitative program at a non-profit, drug and alcohol

treatment center. No. 57851-1-I, 2007 WL 1464433, at *1–4 (Wash. Ct. App.

May 21, 2007) (unpublished).1 To overcome their addictions, residents in the

program participated in “structured work therapy” as a complement to “intensive

therapy and counseling.” Participants signed an application agreeing they would

participate “with no promise or expectation of compensation.” Id. at *1.

      Unlike in Lafley, GEO is a for-profit corporation, and the MWA prevents

for-profit corporations from utilizing “volunteers” to perform gratuitous labor.


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        Under Washington Supreme Court General Rule 14.1(a), unpublished
opinions of the court of appeals have no precedential value and are not binding
on any court.


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See Wash. Rev. Code § 49.46.010(3)(d) (authorizing only “educational,

charitable, religious, state or local government bod[ies] or agenc[ies], or

nonprofit organization[s]” to accept volunteer or gratuitous labor). And GEO’s

work program is not part of any treatment plan—it does not promote future job

opportunities by providing assistance in “fulfilling community service

requirements,” or in “obtaining reference letters,” and nothing at trial showed

that the work program is an “integral part of rehabilitation.” Cf. Lafley,

2007 WL 1464433, at *2, *4. Furthermore, the detainee workers did not agree

to work for free at the NWIPC as part of a treatment program; they agreed to and

did work for compensation of $1 per day and sometimes more. The work

program at the non-profit treatment center in Lafley is both factually and legally

distinct from the one GEO operated at the NWIPC.

      In sum, Washington courts “are not bound” by federal authority

interpreting the FLSA, particularly where, as here, the provisions are not the

same. Drinkwitz, 996 P.2d at 586; see Weeks, 639 P.2d at 734. The MWA’s plain

text exempts only those facilities that are government-owned and operated. The

Court should decline GEO’s request to rewrite Washington law and exempt all

private detention work programs from the MWA.




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      3.        The judgment should be affirmed even if the Court looks to
                FLSA precedent

      Even if the Court disregards the MWA’s narrow exemptions and instead

looks to the FLSA to decide the scope of Washington law, the judgment below

remains correct. The Ninth Circuit rejects the type of categorical exclusion of

incarcerated individuals from the FLSA’s wage protections that GEO urges here.

Given that prisoners are not on the statutory list of workers exempted from the

FLSA, this Court has explicitly stated: “[W]e cannot agree that the FLSA

categorically excludes all labor of any inmate.” See Hale v. Arizona, 993 F.2d

1387, 1393 (9th Cir. 1993) (en banc); see also Watson v. Graves, 909 F.2d 1549,

1556 (5th Cir. 1990) (finding FLSA coverage for prisoners working for private

company); Carter v. Dutchess Cmty. Coll., 735 F.2d 8, 12–13 (2d Cir. 1984)

(same); Vanskike v. Peters, 974 F.2d 806, 808 (7th Cir. 1992) (“We do not

question the conclusions of Carter, Watson and Hale that prisoners are not

categorically excluded from the FLSA’s coverage simply because they are

prisoners.”).

      In Hale, an en banc panel of this Court held that certain Arizona state

prisoners were not “employees” under the FLSA, but left open the possibility of

coverage under different facts. 993 F.2d at 1389–90. The prisoners in Hale were

held in a state-run facility and were required by law to work as part of their prison


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sentences. Id. The court held that the economic reality test described in Bonnette

v. California Health & Welfare Agency, 704 F.2d 1465 (9th Cir. 1983), was

inapplicable “in the case of prisoners who work for a prison-structured [labor]

program because they have to.” Hale, 993 F.2d at 1394. Since “the economic

reality of the relationship” “is penological, not pecuniary,” the FLSA did not

apply. Id. at 1395. Following Hale, courts have recognized that where an

individual is under no legal obligation to work, such that their labor does not

“belong” to the government, the FLSA’s protections may apply. See, e.g., Castle

v. Eurofresh, Inc., 731 F.3d 901, 908 (9th Cir. 2013) (“[A]n inmate’s legal

obligation to work” is the “one factor that triggers application of the Hale rule”);

Coupar v. U.S. Dep’t of Labor, 105 F.3d 1263, 1265 (9th Cir. 1997) (an inmate’s

obligation to work in a prison work program “brings him within the rule of

Hale”).

      GEO nonetheless relies upon Morgan v. MacDonald, 41 F.3d 1291, 1293

(9th Cir. 1994), a case applying Hale, to argue that detainees at NWIPC cannot

be employees because their labor “belongs” to GEO by virtue of their detention.

GEO Br. at 23–24. But the Morgan decision simply confirms that it is an

inmate’s legal obligation to work that triggers the Hale rule and corresponding

exclusion from the FLSA. 41 F.3d at 1293. In Morgan, the FLSA did not protect



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the inmates at issue because, regardless of “the precise penological purpose” for

which work is performed, the work “stem[s] primarily from their status as

incarcerated criminals” and their work was required under Nevada law. Id.

      The circumstances at the NWIPC are different. Detainees are not prisoners

and their labor does not “belong” to GEO—nor could it under the Thirteenth

Amendment to the U.S. Constitution. As GEO concedes and witnesses

confirmed, detainees at the NWIPC are under no obligation to work. GEO Br. at

1, 9, 25; 1-SERWA-79:5–9, 241:9–11. In the civil immigration context here,

there is no “penological” aspect to the workers’ detention. Hydrick v. Hunter,

500 F.3d 978, 989 (9th Cir. 2007) (“[C]ivilly detained persons must be afforded

‘more considerate treatment and conditions of confinement than criminals whose

confinement are designed to punish.’”) (quoting Youngberg v. Romeo, 457 U.S.

307, 322 (1982)); see Fong v. United States, 149 U.S. 698, 730 (1893) (“The

order of deportation is not a punishment for crime.”).

      Unlike incarcerated individuals who are required to work as part of their

criminal sentences, detainee workers’ labor—cleaning the facility, cooking the

meals, doing the laundry—belongs to the workers, not GEO. See Watson,

909 F.2d at 1556 (finding inmates were “employees” under the FLSA because

they were not required to work as part of their sentences); see also Dutchess



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Cmty. Coll., 735 F.2d at 13–14 (prisoner working as a teaching assistant at

community college which paid him wages directly could be FLSA “employee”).

And contrary to GEO’s suggestion that there is no bargained-for exchange, GEO

cannot dispute that detainees can refuse to work, 1-SERWA-38:22–39:14,

47:19–49:11, 50:8–12, 133:13–134:2, 182:10–183:15, 261:25–262:4, and GEO,

as an employer, can pay (and has paid) $2 per day and sometimes $5 per day

when it needed to incentivize more people to work. 2-SERWA-322–23. That

“bargain,” even though it occurs in a coercive setting that favors GEO, is the

hallmark of an employment relationship.

      Finally, despite a half-hearted attempt to address Ninth Circuit authority,

GEO’s brief primarily focuses on the Fourth Circuit’s decision in Ndambi v.

CoreCivic. See GEO Br. 21–22. GEO characterizes Ndambi as establishing that

immigration detainees can never be employees due to the custodial nature of

their relationship, period. But the Court should decline GEO’s invitation to

reverse its own en banc precedent under Hale and make Ndambi the law of the

circuit. For one, the Ndambi decision did not involve Washington’s MWA. It

considered the FLSA and New Mexico’s minimum wage law that, unlike here,

mirrored the FLSA to such an extent that the plaintiffs stipulated that the two

laws should be interpreted identically. 990 F.3d 369, 371 n.1 (4th Cir. 2021).



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      Furthermore, the Ndambi decision is wrongly decided in any event. The

Fourth Circuit concluded that the FLSA does not apply in the custodial context

generally—whether the workers are inmates, pretrial detainees, or civil

detainees. Id. at 373. Ndambi’s reasoning was “the mere voluntariness of

participating in a work program or the transfer of money between a detainee and

detainer does not manufacture a bargained-for exchange of labor.” Id. at 372. In

other words, the Ndambi court came to a different conclusion than this Court in

Hale—which held the voluntariness of the work program is exactly what

determines whether the FLSA applies, not the custodial context. See Hale, 993

F.2d at 1393 (“[W]e are constrained not to hold as a matter of law that prisoners

may never be ‘employees’ of a prison”); see also Castle, 731 F.3d at 907.

      GEO misleadingly suggests that Ndambi relied on Ninth Circuit case law

for its conclusion that the FLSA does not apply to civil detainees. But a review

of Ndambi reveals the only published Ninth Circuit decision Ndambi cited

involved prisoners convicted of felony crimes.2 See Ndambi, 990 F.3d at 373–

74 (citing Gilbreath v. Cutter Biological, Inc., 931 F.2d 1320, 1325 (9th Cir.



      2
        While Ndambi also cites a Ninth Circuit case involving a civil detainee,
that one-page, unpublished memorandum involved an appeal by a pro se litigant
whose “amended complaint did not contain[] enough facts to state a claim.” See
Williams v. Coleman, 536 F. App’x 694, 694 (9th Cir. 2013) (unpublished).


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1991) (plurality) (observing the prison work program would otherwise be

considered slavery if it did not apply to persons “duly tried, convicted, sentenced

and imprisoned for crime in accordance with law”)). Moreover, the portion of

Gilbreath cited by the Ndambi court and GEO—that the FLSA can never apply

to prison inmates—was not joined by either the concurring or dissenting judges.

Compare Ndambi, 990 F.3d at 373 (citing Gilbreath, 931 F.2d at 1325), with

Gilbreath, 931 F.2d at 1329 (Rymer, J., concurring) (applying the economic

realities test to determine “employee”); id. at 1334 (Nelson, J., dissenting)

(concluding prison inmates were employees given the FLSA’s broad purpose).

And of course, Gilbreath pre-dates the Ninth Circuit’s en banc decision in Hale,

which rejected the categorical denial of FLSA coverage for prisoners. Hale,

993 F.2d at 1389, 1392. Nowhere did the court in Ndambi acknowledge or

grapple with Hale’s much narrower holding.

      Finally, contrary to GEO’s suggestion that there is uniform precedent

across the circuits construing the FLSA as it proposes, the Ninth Circuit is not

alone in refusing to adopt a categorical “custodial” exemption to the FLSA. For

example, in Henthorn v. U.S. Department of Navy, 29 F.3d 682, 687

(D.C. Cir. 1994), the D.C. Circuit explicitly recognized a federal prisoner may

allege a FLSA claim if “[their] work was performed without legal compulsion



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and that [their] compensation was set and paid by a source other than the Bureau

of Prisons itself.” Likewise, in Barnett v. Young Men’s Christian Ass’n, No. 98-

3625, 1999 WL 110547, at *2 (8th Cir. Mar. 4, 1999) (unpublished), the Eighth

Circuit held a prison inmate stated a FLSA claim, where the claim was “brought

against a private entity . . . and not against a branch or representative of the

county, state, or federal government.” Cf. Alvarado Guevara v. INS, 902 F.2d

394, 396 (5th Cir. 1990) (considering the FLSA’s application to a federally

owned and operated detention facility—and not a privately owned and operated

detention facility).

      In sum, detainee workers at the NWIPC are “employees” under state law

and would be “employees” under the governing FLSA authority, as well. The

Court should not remove state law labor protections from workers at private

detention centers where the Washington Legislature has provided them.

      4.     The “Residential Exemption” does not apply because workers’
             job duties do not require them to reside at the NWIPC

      Alternatively, GEO appeals the district court’s order rejecting GEO’s

assertion of the Residential Exemption under the MWA. See 1-ER-118,

1-ER-98. However, GEO’s contention—that any worker who sleeps at their

place of employment is exempt—is contrary to the MWA’s plain language.




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      The Residential Exemption excludes from the MWA two categories of

workers: (1) those “whose duties require that he or she live at the place of [their]

employment,” and (2) those who spend a “substantial portion of [their] work

time subject to call, and not engaged in the performance of active duties.” Wash.

Rev. Code § 49.46.010(3)(j). The provision does not, as GEO argues, exempt

any worker who merely resides or sleeps at their place of employment. Because

the statute is clear, GEO’s attempt to read the “whose duties require” language

out of the statute is misplaced. See Lake v. Woodcreek Homeowners Ass’n, 243

P.3d 1283, 1288 (Wash. 2010) (“If the statute is unambiguous after a review of

the plain meaning, the court’s inquiry is at an end.”); see also Drinkwitz, 996

P.2d at 587 (Washington’s MWA exemptions must be narrowly construed).

      Here, detainees are detained pending resolution of their immigration

proceedings regardless of their decision to work at the NWIPC or their specific

job duties. 1-ER-68. So, this case is nothing like Strain v. West Travel, Inc.,

70 P.3d 158, 160 (Wash. Ct. App. 2003), or Park v. Choe, No. C06-5456-RJB,

2007 WL 2677135, at *6 (W.D. Wash. Sept. 10, 2007) (unpublished), where the

job duties of a cruise ship customer service representative and adult caregiver,

respectively, required workers to reside at their worksites. Since it is the

detainees’ detention, rather than their job duties, that causes detainees to “reside



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or sleep” at the NWIPC, the Residential Exemption does not excuse GEO’s

failure to pay its workers the minimum wage.

B.      GEO Is Not Entitled to Intergovernmental Immunity

        Contrary to GEO’s claims of wholesale immunity from state regulation, a

state law runs afoul of the doctrine of intergovernmental immunity “only if it

regulates the United States directly or discriminates against the Federal

Government or those with whom it deals.” North Dakota v. United States,

495 U.S. 423, 435 (1990) (plurality). In other words, federal contractors like

GEO may be subject to state and local regulation as long as the state regulation

is “neutral” and “imposed equally on other similarly situated constituents,” i.e.,

without regard to their dealings with the federal government. Id. GEO is not

entitled to immunity merely because it is a federal contractor; it is entitled to

immunity only if it can show that Washington’s MWA discriminates against it

because it contracts with the federal government. GEO cannot carry that burden

here.

        1.     The MWA does not discriminate against GEO because it is a
               federal contractor

        The MWA is a broadly applicable state labor law that applies to GEO

because it is a private business—and not because GEO is a federal contractor.

The discrimination prong of intergovernmental immunity does not render a



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private business immune where a state regulation “is imposed on some basis

unrelated to the subject’s status as a federal Government contractor” and is

“imposed equally on other similarly situated constituents of the State.” North

Dakota, 495 U.S. at 438. In North Dakota, for example, the Supreme Court

upheld state laws that regulated federal government suppliers (as well as all other

liquor retailers in the state) as part of a statewide regulatory regime. Id. at 438–

39. Similarly, the Supreme Court has rejected overbroad claims of

intergovernmental immunity when private companies sought special exemptions

from state law based only on their relationship with the federal government. See,

e.g., Washington v. United States, 460 U.S. 536, 545 (1983) (upholding state tax

law where “[t]he tax on federal contractors is part of the same structure, and

imposed at the same rate, as the tax on the transactions of private landowners

and contractors”).

      Here, there is no dispute that the MWA does not apply to a federally

owned and federally operated facility, such as the Federal Detention Center in

SeaTac, Washington. Since the NWIPC is a private detention facility, GEO can

only show that it is immune by proving that the NWIPC is “similarly situated”

to facilities that are exempt under Washington’s MWA. GEO, therefore, hangs

its intergovernmental immunity hat on two MWA exemptions: the Government



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Institutions Exemption and another “Volunteer Exemption” that exempts those

who engage in activities for an “educational, charitable, religious, state or local

government body or agency, or nonprofit organization.” See Wash. Rev.

Code § 49.46.010(3)(d), (3)(k). But GEO is not “similarly situated” to state and

local detention institutions, let alone educational, charitable, religious, or

nonprofit organizations. In fact, all trial evidence proved the opposite. As GEO’s

CFO confirmed, GEO is a private business that distributes ninety percent of its

profits to private shareholders. 1-SERWA-226:8–227:6. In contrast, government

institutions do not turn any profit from individuals they incarcerate or detain,

even when government detention facilities operate work programs.

1-SERWA-271:16–273:17. While GEO designed its work program to keep the

NWIPC running, 1-SERWA-73:4–75:20, 253:10–13, the work programs at

government institutions are designed to ease reentry into society or to support an

individual’s treatment plan. 1-SERWA-270:19–25, 275:19–280:3.

      Further, GEO’s assertion that it should even be compared to state and local

institutions must fail as a matter of law. The question of whether a state law

discriminates against the federal government and those with whom it deals

“depends on how the State has defined the favored class.” Dawson v. Steager,

139 S. Ct. 698, 703–04 (2019). If a State exempts from taxation all retired state



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employees, for example, it must likewise exempt all retired federal employees,

but “if the State decides to exempt only a narrow subset of state retirees, the State

can . . . exempt[] only the comparable class of federal retirees.” Id. at 704. See

also Nye County, 178 F.3d at 1084 (concluding that the “wording of [a state law]

is significant” when it comes to intergovernmental immunity). Since the

Government Institution provision exempts “[a]ny resident, inmate, or patient of

a state, county, or municipal correctional, detention, treatment or rehabilitative

institution,” see Wash. Rev. Code § 49.46.010(3)(k), at most, intergovernmental

immunity principles would require that the Government Institution Exemption

be extended to “residents, inmates, or patients of federal detention institutions.”

See Dawson, 139 S. Ct. at 705 (holding immunity depends on “how the State has

defined the favored class”).

      But, again, the NWIPC is not a federal detention institution. See Goodyear

Atomic Corp. v. Miller, 486 U.S. 174, 180 n.1 (1988) (observing the

“fundamental distinction between state regulation of private facilities and state

regulation of federal facilities”). GEO is a private corporation and it is GEO that

owns and operates the NWIPC; GEO simply provides services to the federal

government there, just as it could provide services to any other public or private

entity. 1-ER-68. And, if there were any remaining doubt about the scope of the



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Government Institutions Exemption, the Washington Revised Code is explicit

when it refers to private detention facilities, see, e.g., Wash. Rev. Code

§ 72.68.010 (referring to “private correctional entity”); Wash. Rev. Code

§ 72.68.110 (same). The fact that the Legislature has not included such private

facilities in the MWA exemption is therefore fatal to GEO’s argument. The

Washington Legislature gave advantage to public entities vis-à-vis private

ones—and included no provisions that benefit the state at federal expense.

      GEO’s reliance on United States v. California to argue otherwise is

misplaced. 921 F.3d 865 (9th Cir. 2019). In California, the Ninth Circuit

determined a state law violated intergovernmental immunity because it imposed

a “novel requirement” on immigration detention facilities that was “distinct from

any other inspection requirements imposed by California law.” Id. at 885. See

also Boeing Co. v. Movassaghi, 768 F.3d 832, 842 (9th Cir. 2014) (applying

immunity where site-specific regulation singled out the federal government and

its contractor “for a substantially more stringent cleanup scheme than that which

applies elsewhere in the State”). Indeed, the California court upheld two other

state laws that were “expressly designed to protect its residents from federal

immigration enforcement,” 921 F.3d at 872, but simply extended generally

applicable prison inspection regulations to the contracted civil immigration



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detention context. Id. at 872–73. In doing so, the Ninth Circuit specifically

reaffirmed states’ “general authority to ensure the health and welfare of inmates

and detainees in facilities within [their] borders.” Id. at 886.

      Here, the MWA is not a novel requirement nor a targeted one that singles

out federal contractors for “more stringent” regulations. The scenario here is

precisely the opposite: The MWA is a neutral law with which GEO must comply

regardless of whether it deals with the federal, state, or local governments—or

no government at all. While GEO makes much of the fact that California

compared state and local detention facilities to immigration facilities in its

intergovernmental immunity analysis, that comparison made sense as the state

laws at issue there singled out “facilities in which noncitizens are being . . .

detained for purposes of civil immigration proceedings.” Id. In contrast, here,

the MWA and its exemptions are generally applicable and neutral; the MWA

applies equally to all for-profit businesses.3




      3
         GEO also cites GEO Group, Inc. v. Newsom, 15 F.4th 919 (9th Cir.
2021), another case where GEO seeks to shield itself from state regulation by
claiming equivalence with the federal government. The panel opinion in that
case has been vacated pending rehearing en banc. See Order at *1, GEO Grp.
Inc. v. Newsom, Nos. 20-56172, 20-56304, 2022 WL 1222893 (9th Cir. Apr. 26,
2022).


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      Finally, without legal authority or factual basis, GEO argues that it is

entitled to immunity because Washington’s MWA exempts state prison

contractors, but not federal prison contractors. But GEO failed at trial to identify

a single detention facility operated by a private contractor in Washington, and

GEO’s argument ignores the plain and unambiguous text of the statute, which

exempts no contractors at all. See Wash. Rev. Code § 49.46.010(3); see also Nye

County, 178 F.3d at 1088 (rejecting intergovernmental immunity where there

were no federal contractors “analogous” to the state contractors who benefitted

from its tax exemption); Drinkwitz, 996 P.2d at 587 (MWA exemptions must be

construed “narrowly”).

      In search of a different result, GEO clings to the Washington State

Department of Labor and Industries’ Administrative Policy ES.A.1 to make its

argument. But ES.A.1 applies to individuals held at a state, local, or municipal-

run facility assigned by facility officials to work for a private corporation on the

premises, not those held at a private institution who work for the private

institution itself. 3-ER-496. And even if ES.A.1 conflicted with Washington’s

position here—which it does not—ES.A.1 is guidance, not law. See 3-ER-491.

As the first page of states: ES.A.1 reflects “the current opinions of the

Department of Labor & Industries” and “does not replace applicable RCW or



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WAC standards.” Id. Since the Washington MWA’s statutory exemptions are

what controls the analysis, and the MWA’s exemptions are clear and non-

discriminatory, GEO is not entitled to immunity. See also Dawson, 139 S. Ct. at

704 (“[W]hat matters” for intergovernmental immunity purposes is “the letter of

the law.”).

      2.      The MWA does not directly regulate the federal government

      GEO next argues the “direct regulation” theory of intergovernmental

immunity. See GEO Br. at 11 (“[T]he activities of the Federal Government are

free from regulation by any state”) (citations omitted). But GEO’s assertion of

direct regulation is frivolous because GEO is neither the federal government nor

a federal instrumentality.

      To prove immunity under direct regulation theory, GEO must show that

Washington’s MWA regulates “the United States itself, or . . . an agency or

instrumentality so closely connected to the Government that the two cannot

realistically be viewed as separate entities.” United States v. New Mexico,

455 U.S. 720, 735 (1982). In other words, to resist a generally applicable state

regulation, a private company must be “so incorporated into the government

structure” that they “must actually ‘stand in the Government’s shoes.’” Id. at

735–36. In New Mexico, for example, the Supreme Court refused to extend




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immunity to federal contractors who managed federally owned atomic

laboratories because the private contractors’ relationships with the federal

government “[was] created for limited and carefully defined purposes” and the

privately owned corporations were using the federal property “in furtherance of

the contractor’s essentially independent commercial enterprise.” Id. at 740–41,

742. See also United States v. Boyd, 378 U.S. 39, 44 (1964) (refusing to extend

immunity to federal contractors because contractors remain “distinct” entities

pursuing “private ends” and their actions are “commercial activities carried on

for profit”) (citations omitted); North Dakota, 495 U.S. at 437 (where state laws

“operate against suppliers, not the Government,” direct regulation “[is] not

implicated”); Penn Dairies v. Milk Control Comm’n of Pa., 318 U.S. 261, 270–

71 (1943) (dairy providing milk to U.S. military not immune from state price

regulations because “those who contract to furnish supplies or render services to

the government are not [government] agencies and do not perform governmental

functions”).

      GEO is no different. GEO owns and operates the NWIPC and it is GEO

that manages the detainee work program. 1-ER-68; 1-SERWA-18:13–20,

31:18–32:4, 42:18–45:5. Like in New Mexico and Boyd, GEO is a private

company accountable to shareholders, and its activities at the NWIPC are



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“commercial [and] carried on for profit.” Boyd, 378 U.S. at 44. Applying

Washington’s MWA to GEO does not direct or prohibit any action by the federal

government or its officers—and certainly nowhere dictates whether or where the

federal government may detain an immigrant. See California, 921 F.3d at 884–

85 (upholding state law because it did not disturb any federal detention decision).

GEO’s argument that the MWA directly regulates the federal government falls

flat.

C.      Washington’s MWA Is Not Preempted

        GEO’s assertion of preemption is no stronger. Not only does the

presumption against preemption squarely apply to Washington’s regulation of

labor standards, GEO’s preemption defense must fail because it ignores the

requirement of a clear and manifest intent to preempt state law, an intent that is

wholly absent here.

        1.     The presumption against preemption applies

        It is well settled that courts “start with the assumption that the historic

police powers of the States were not to be superseded” unless preemption was

“the clear and manifest purpose of Congress.” Rice v. Santa Fe Elevator Corp.,

331 U.S. 218, 230 (1947). See also Va. Uranium, Inc. v. Warren, 139 S. Ct. 1894,

1904–05 (2019) (quoting Medtronic, Inc. v. Lohr, 518 U.S. 470, 488 (1996))




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(plurality) (preemption of state laws must be “based ‘on the strength of a clear

congressional command’” since it represents “a serious intrusion into state

sovereignty”). In areas of traditional state regulation, the presumption against

preemption is especially strong. See Wyeth v. Levine, 555 U.S. 555, 565 (2009);

see also Hawaiian Airlines, Inc. v. Norris, 512 U.S. 246, 252 (1994) (“Pre-

emption of employment standards ‘within the traditional police power of the

State’ ‘should not be lightly inferred’”) (quoting Fort Halifax Packing Co. v.

Coyne, 482 U.S. 1, 21 (1987)). The presumption against preemption holds true

even if the state law “‘touch[es] on’ an area of significant federal presence.”

Knox v. Brnovich, 907 F.3d 1167, 1174 (9th Cir. 2018) (quoting Puente Arizona

v. Arpaio, 821 F.3d 1098, 1104 n.5 (9th Cir. 2016)).

      Here, the presumption against preemption applies because Washington’s

MWA is a generally applicable employment law and the state’s historic police

powers are squarely in play. See Wash. Rev. Code § 49.46.005(1), (3) (declaring

the minimum wage act necessary to “encourage employment opportunities

within the state” and to “protect[] the immediate and future health, safety, and

welfare of the people of this state”); see also RUI One Corp. v. City of Berkeley,

371 F.3d 1137, 1150 (9th Cir. 2004) (“States possess broad authority under their

police powers to regulate the employment relationship to protect workers within



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the State. . . . [M]inimum wage and other laws . . . are only a few examples.”)

(quoting Metro. Life Ins. Co. v. Massachusetts, 471 U.S. 724, 756 (1982)). GEO

itself concedes that “the regulation of wages within a free labor market is a

longstanding state power.” See GEO Br. at 43. This Court therefore starts with

the presumption that Washington constitutionally may apply the MWA to GEO.

      GEO argues the presumption against preemption does not apply because

application of Washington’s MWA to GEO would intrude upon an area of

significant federal presence, i.e., the federal government’s “plenary or near

plenary power over immigration issues.” See GEO Br. at 40 (citations omitted).

But “immigration issues” are not a talisman for preemption. See, e.g., California,

921 F.3d at 875 (concluding that even certain state laws “designed to protect its

residents from federal immigration enforcement” were not preempted);

Puente Arizona, 821 F.3d at 1104 (holding state identity theft laws were not

preempted even though they “certainly ha[d] effects in the area of immigration”).

      In California, for example, this Court not only upheld a state law that

required state inspections of immigration detention facilities, it also upheld a

state law that required employers to provide employees notice when federal

immigration authorities conduct workplace inspections, reasoning that the state

law simply regulated the relationship between employers and their employees—



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and not any relationship between federal immigration authorities and the entities

they regulate. 921 F.3d at 875.

      That same analysis applies here. Neither party disputes Washington’s

general authority to ensure the health and welfare of its residents. Washington’s

MWA in no way challenges federal immigration officials’ ability to determine

which non-citizens to detain. See California, 921 F.3d at 885 (no preemption of

state’s “inspection regime” for immigration facilities because state law “does not

regulate whether or where an immigration detainee may be confined”). Instead,

Washington’s MWA regulates the relationship between employers and their

employees. While GEO suggests the federal government has exclusive power

over detainee wages in private immigration facilities, see GEO’s Br. at 52, ICE’s

own instruction is that GEO must follow “state and local labor laws” at the

NWIPC. 1-SERWA-367. Since Washington’s MWA is longstanding labor law

that does not undermine or disrupt any area of exclusive federal control, the

presumption against preemption squarely applies.

      2.     Washington’s MWA does not conflict with any federal law

      Nor does Washington’s MWA conflict with any federal law or frustrate

any congressional objective. Obstacle preemption occurs only in “those

situations where conflicts necessarily arise.” Goldstein v. California, 412 U.S.




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546, 554 (1973). Mere tension with federal law is not enough. See Chamber of

Com. v. Whiting, 563 U.S. 582, 607 (2011) (preemption analysis does not

“justify a ‘freewheeling judicial inquiry’ into whether a state statute is in tension

with federal objectives”) (quoting Gade v. Nat’l Solid Wastes Mgmt. Ass’n,

505 U.S. 88, 111 (1992)); see also Incalza v. Fendi N. Am., Inc., 479 F.3d 1005,

1010 (9th Cir. 2007) (no preemption where employer could have complied with

both federal immigration law and state labor law by placing a worker who lacked

work authorization on unpaid leave).

      Here, GEO attempts to manufacture a conflict between Washington’s

MWA and federal law regarding appropriations. The primary statutory provision

GEO cites to argue preemption is 8 U.S.C. § 1555. But that law is a general

appropriations statute that provides ICE with the authority to spend federal

money. To be sure, Section 1555 makes public funds available for the “payment

of allowances . . . to aliens . . . for work performed,” among other things, see

8 U.S.C. § 1555(d), but nothing in Section 1555’s text indicates that Congress

meant to assert “exclusive federal control” over any of the funded items

generally, or the payment of detainee wages specifically. See also Rincon Band

of Mission Indians v. Harris, 618 F.2d 569, 573 (9th Cir. 1980) (“heavy burden”

to show Congress ratified agency action via “[t]he mere appropriation of funds”).



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      Most crucially, while Section 1555 authorizes ICE to spend federal money

for the “payment of allowances,” it neither says anything about a maximum rate

of allowance nor specifies the actual wages owed to detainee workers by private

companies for whom they work under longstanding state labor laws. See

8 U.S.C. § 1555 (identifying the allowance generally to be a “rate as may be

specified from time to time”). And, since it was enacted more than three decades

before the privatization of immigration detention centers, Section 1555 does not

speak to what companies like GEO must pay when they rely on detainee workers

to run their privately owned facilities. See Murphy v. Nat’l Collegiate Athletic

Ass’n, 138 S. Ct. 1461, 1481 (2018) (refusing to apply preemption because

“there [was] no way in which [the federal law at issue] [could] be understood as

a regulation of private actors”); United States v. Nixon, 839 F.3d 885, 887–88

(9th Cir. 2016) (affirming that an appropriations rider simply restricts an

agency’s ability to use certain funds and does not invalidate existing law).

      Perhaps realizing that Section 1555 does not actually conflict with

Washington’s MWA, GEO also points to a single appropriations act from 1978,

which capped the public funds available that fiscal year for “payment of

allowances” to $1 per day. But that act, authorized pursuant to Section 1555,

simply appropriated money for a federal agency to spend on wage



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reimbursements for one year. It says nothing about the private contractors

themselves or the “wages” they owe employees under particular state laws.

Further, any conflict that may have existed necessarily expired at the close of

fiscal year 1979, more than forty years ago. See Department of Justice

Appropriations Act, 1979, Pub. L. No. 95-431, 92 Stat. 1021, 1021 (1978) (“An

Act making appropriations . . . for the fiscal year ending September 30, 1979”).

While GEO half-heartedly argues that the 1978 capped rate “remains in effect”

“pursuant to 8 U.S.C. § 1555(d),” see GEO Br. at 44, none of the cases GEO

cites even consider the 1978 act’s finite term. See, e.g., Alvarado Guevara v.

INS, 902 F.2d 394, 396 (5th Cir. 1990); Guevara v. I.N.S., No. 90-1476,

1992 WL 1029, at *2 (Fed. Cir. Jan. 6, 1992) (unpublished). Indeed, the PBNDS

allow GEO to pay more than $1 per day and GEO’s own practices here confirm

that the appropriations act is no limit on what GEO may pay. 1-ER-69;

2-SERWA-305, 464. GEO conceded at trial that it has the option to pay, and in

fact does pay, more than $1—sometimes $2 or $5—when it needs to incentivize

additional workers. 1-SERWA-37:13–39:30, 45:22–46:18; 2-SERWA-322–23;

1-ER-69. GEO’s own historical payment practice proves that there is no conflict

with Washington’s MWA, and that an act appropriating funds to a federal agency




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says nothing about what private companies must pay their employees under state

law.4

        GEO’s remaining citations to California v. FERC, 495 U.S. 490 (1990),

and Crosby v. National Foreign Trade Council, 530 U.S. 363 (2000), are

inapposite. In FERC, the relevant federal agency asserted exclusive federal

jurisdiction over a licensee’s minimum water flow rates and concluded in an

administrative adjudication “that the [state law] requirements interfere[d] with

its comprehensive planning authority.” 495 U.S. at 506. In Crosby, preemption

applied where a state law restricting state business with Burma frustrated a

federal law that provided the President with unique authority “to terminate any

and all [economic sanctions against Burma].” 530 U.S. at 368–69. Here, the

federal agency has nowhere asserted exclusive jurisdiction over detainee wages

that GEO owes. Again, it is GEO that sets the pay rate and pays detainees for

their labor; in turn, ICE requires GEO to follow state and local labor laws at the

NWIPC. Since Congress has not set any limits on detainee wages, and ICE has




        4
        GEO also implies that applying the MWA to the work program creates
a conflict because federal law prohibits the employment of unauthorized
immigrants. GEO Br. at 17. The unrebutted evidence at trial, however, showed
that there are several categories of work-authorized immigrants who may be
detained at the NWIPC. 1-SERWA-137:24–138:10, 139:8–140:3, 141:5–142:4.


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set only a floor but no maximum, there is no actual conflict between state and

federal law.

D.    GEO Is Not Entitled to Derivative Sovereign Immunity

      Nor can GEO escape liability with the shield of derivative immunity. The

undisputed evidence confirmed that GEO made its own decisions about how to

structure the NWIPC’s work program—including which jobs detainees could

work and the rate of pay—and failed to follow the federal government’s explicit

instructions to comply with all state and local labor laws.

      The Supreme Court has recognized that “[g]overnment contractors obtain

certain immunity in connection with work they do pursuant to their contractual

undertakings with the United States.” Campbell-Ewald Co. v. Gomez, 577 U.S.

153, 166 (2016). “That immunity, however, unlike the sovereign’s, is not

absolute.” Id. Rather, a contractor may avail itself of derivative immunity only

where: (1) the government authorizes and directs the contractor’s actions; and

(2) the government validly conferred that authorization, meaning it acted within

its constitutional power. Yearsley v. W.A. Ross Constr. Co., 309 U.S. 18, 20–21

(1940); see Campbell-Ewald Co, 577 U.S. at 166–67. In Cabalce v. Thomas E.

Blanchard & Assocs., Inc., the Ninth Circuit made clear that “derivative

sovereign immunity . . . is limited to cases in which a contractor ‘had no




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discretion . . . and completely followed government specifications.’” 797 F.3d

720, 732 (9th Cir. 2015) (quoting In re Hanford Nuclear Reservation Litig.,

534 F.3d 986, 1001 (9th Cir. 2008)); see also In re KBR, Inc., Burn Pit Litig.,

744 F.3d 326, 346 (4th Cir. 2014) (holding derivative sovereign immunity would

not apply “if [the private contractor] enjoyed some discretion in how to perform

its contractually authorized responsibilities”). Consistent with that authority, the

Supreme Court has explained that when a contractor fails to follow the federal

government’s explicit instructions, derivative sovereign immunity does not

shield the contractor from liability. Campbell-Ewald, 577 U.S. at 168 (holding

that derivative immunity was unavailable where contractor failed to comply

“with the Navy’s instructions” to send recruiting text messages only to

individuals who “opted in”).

      Here, the trial evidence, including facts GEO admitted, proved that GEO’s

derivative immunity argument is meritless as a matter of law for at least two

reasons. The first is that GEO provides services to the federal government under

a contract that explicitly requires GEO to perform in accordance with all

applicable state labor laws. 1-ER-68; 2-SERWA-367; 1-SERWA-178:18–

179:14. The contract also instructs GEO to comply with the “most stringent” of

any conflicting federal, state, or local standards—an unambiguous directive that



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anticipates, and speaks to, the precise circumstance here. 2-SERWA-375;

1-SERWA-180:21–181:7. And were there any doubt, the “Work Program”

section of the contract states: “The detainee work program shall not conflict with

any other requirements of the contract and must comply with all applicable laws

and regulations.” 2-SERWA-405 (emphasis added). GEO admits that it has

“never” paid the minimum wage to detainee workers. 1-ER-69. By failing to

follow state law, GEO violated the federal government’s explicit instructions.

      GEO is likewise foreclosed from immunity for a second reason: Its

admitted discretion to set the rate of pay. Prior to trial, GEO agreed that “GEO

has the option to pay more than $1/day for work performed” in its work program.

1-ER-69. That admission was consistent with all evidence at trial. For example,

GEO’s Classification Officer explicitly informed her supervisor in a 2014

memo: “The new standards . . . [s]tate[] that compensation is now at least $1.00

however doesn’t say we don’t have the option to pay more if we like.”

2-SERWA-302. Indeed, GEO actually has paid detainee workers more than $1

per day for work when it was short of workers. 1-SERWA-37:13–20, 133:6–17;

2-SERWA-322–23. And, cementing the point, ICE told GEO in no uncertain

terms that “there is no maximum” rate of compensation for detainee workers. 2-

SERWA-464. It is thus undisputed that GEO has substantial discretion in how



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to run the work program, including how much to pay detainee workers. The

decisions giving rise to GEO’s liability—to use workers in particular jobs and

pay them less than minimum wage—were GEO’s alone to make. See Cabalce,

797 F.3d at 732.

      In an effort to avail itself of the federal government’s “embracive”

sovereign immunity, GEO suggests that Cabalce was, in effect, a judicially

created limitation on derivative immunity applicable only in the tort context. On

that basis, GEO reasons that outside of the tort context, derivative immunity

applies “[a]bsent federal legislation positively waiving [it].” GEO Br. at 47. But

Cabalce nowhere adopted that reasoning. And, the Supreme Court’s decision in

Campbell-Ewald makes clear that derivative immunity is not the same as the

United States’ “embracive” sovereign immunity—regardless of whether the

underlying claim is based in tort or statute. In that case, the contractor faced not

a tort claim, but a claim for statutory damages under the Telephone Consumer

Protection Act. Campbell-Ewald, 577 U.S. 156–57. And like this Court’s

decision in Cabalce, the Supreme Court emphasized the limited nature of

derivative immunity for contractors. See id. at 168. GEO’s cases provide no

support for a rule of derivative immunity that is more expansive outside the tort

context than within it.



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      Finally, GEO’s reliance on the Fifth Circuit’s decision in Taylor Energy

Co. v. Luttrell, fails to show the district court erred here. In Taylor, the Fifth

Circuit concluded that a federal contractor who worked for the Coast Guard to

clean oil spills was entitled to immunity when facing a tort action by another

contractor. 3 F.4th 172, 176 (5th Cir. 2021). The court first affirmed the general

rule that “staying within the thematic umbrella of the work that the government

authorized is not enough to render the contractor’s activities the act[s] of the

government.” Id. (quoting In re KBR, Inc., Burn Put. Litig, 744 F.3d at 345).

There, however, immunity applied because the Coast Guard itself had taken over

the remediation efforts and “authorized [the contractor’s] plan” on the specific

oil-containment system design and installation and worked daily with the

contractors, overseeing and approving all work. Id. at 177. Because of those

facts, GEO’s argument based on Taylor fails. It was undisputed at trial that

federal officials never gave GEO staff direction about how to run the work

program on a daily basis or comply with state labor law—those were GEO’s

responsibilities under the contract. 2-SERWA-303–07, 367.

      GEO is not entitled to immunity. It had total discretion in setting the rate

of pay for detainee workers. In exercising that discretion, it violated the federal

government’s instructions to follow state labor law.



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E.    The District Court Did Not Err in Concluding GEO Was Unjustly
      Enriched

      As to Washington’s unjust enrichment claim, GEO repeats its immunity

and preemption defenses, but these defenses are even less persuasive when held

up against a common law claim that does not exempt anyone, let alone target the

federal government or its contractors. GEO adds two additional arguments:

(1) that unjust enrichment is unavailable where there are alternative remedies at

law, and (2) the elements of unjust enrichment were not proven. Neither of

GEO’s contentions survive scrutiny.

      1.     Unjust enrichment was appropriate because no adequate
             remedy at law exists

      On appeal, GEO argues unjust enrichment is unavailable because the

detainee workers sign a “contract” agreeing to participate in the work program

and could seek remedies under Washington’s MWA. But GEO is wrong.

      As an initial matter, the district court did not—as GEO suggests—hold

“that Washington state unjust-enrichment law requires that GEO pay the

minimum wage.” GEO Br. at 50. Instead, the district court used the minimum

wage to calculate the amount of GEO’s unjust enrichment because “[i]t was not

possible from what was presented to find a reasonable number to justify a

disgorgement of profit.” 1-ER-28; see also Young v. Young, 191 P.3d 1262,




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1263–64 (Wash. 2008) (holding that recovery for unjust enrichment may be

measured by either “the amount which the benefit would have cost the defendant

had it obtained the benefit from some other person” or “the extent to which the

other party’s property has been increased in value or his other interests

advanced”).

      To be sure, a party cannot bring an equitable unjust enrichment claim if

that same party has a valid and adequate claim at law, but that rule has no

applicability where alternative legal claims are either incomplete or inadequate.

See Seattle Pro. Eng’g Emps. Ass’n v. Boeing Co., 991 P.2d 1126, 1134 (Wash.

2000), amended by 1 P.3d 578 (Wash. 2000) (“Incompleteness and inadequacy

of the legal remedy are what determine the right to the equitable remedy.”)

(quoting Phelan v. Smith, 61 P. 31, 32 (Wash. 1900)); see also Town Concrete

Pipe of Wash., Inc. v. Redford, 717 P.2d 1384, 1387 (Wash. Ct. App. 1986)

(“Equitable relief is available if there is no adequate remedy at law.”) (emphasis

added).

      Here, the MWA claim does not provide Washington a complete remedy.

The MWA is inadequate because it does not provide a remedy for the larger

community impacted by GEO’s failure to pay the minimum wage. While the

MWA provides a remedy for employees, see Wash. Rev. Code § 49.46.090,



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GEO’s practice also harmed the many Tacoma-area workers who missed out on

job opportunities because of GEO’s unjust reliance on detainee workers. See,

e.g., 1-ER-479, 481. GEO’s CFO testified that GEO, if required to pay the

minimum wage, would replace detainee workers with outside employees and

would hire eighty-five full-time employees to complete the work that detainee

workers did on a daily basis. 1-SERWA-228:13–18. A state employee who helps

job seekers look for work similarly testified that there are (and have long been)

workers in Tacoma looking for the types of janitorial and kitchen jobs that would

have been available at the NWIPC if GEO did not use detainee workers.

1-SERWA-234:16–235:13, 236:7–238:21. Accordingly, after the bench trial, the

Court recognized that detainee workers are only “part of the State’s

representation of those harmed by failure to pay the minimum wage.” 1-ER-23.

Since “the rest of the people” impacted by GEO’s practices are not former

employees entitled to back wages under the MWA, the district court correctly

concluded there “is no legal remedy” for these harms. 1-ER-23:19.

      To the extent GEO argues that Washington’s unjust enrichment claim

“overrid[es]” the Legislature’s intent to exclude the NWIPC from the MWA,

GEO’s argument is unavailing. GEO Br. at 52–53. Even if the MWA did exclude

the NWIPC from its ambit, which it does not, see supra pp. 17–33, that would



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further render the MWA an incomplete remedy even for those detainee workers

directly impacted by GEO’s practices. Regardless, there is no question that the

written agreement of $1 per day rate does not constitute a valid contract as a

matter of law. See Wash. Rev. Code § 49.46.090(1). In the absence of a binding

contract, Washington’s equitable claim is the exact mechanism to challenge

GEO’s unjust benefit. See, e.g., Heaton v. Imus, 608 P.2d 631, 632–33

(Wash. 1980) (recovery to be granted on the basis of quasi contract to prevent

unjust enrichment following finding that there was no enforceable contract

between the parties).

      2.     Washington presented evidence that satisfied all three prongs
             of its unjust enrichment claim

      Nor is GEO correct that Washington failed to prove each element of its

unjust enrichment claim. The district court accurately set forth elements of an

unjust enrichment claim in Washington: (1) a benefit conferred upon the

defendant; (2) an appreciation or knowledge by the defendant of the benefit; and

(3) the acceptance or retention by the defendant of the benefit under such

circumstances as to make it inequitable for the defendant to retain the benefit

without the payment of its value. See 1-ER-24 (quoting Young, 191 P.3d at

1262). And, after a bench trial, the district court correctly found all three prongs

were met here. Id.


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      First, GEO benefited from detainee labor “both operationally and

financially, as that work fulfilled core services that GEO agreed to perform under

its contract with ICE and GEO was paid for.” 1-ER-23. Although GEO argues

that it was detainee workers that conferred a benefit on GEO, not Washington,

Washington sues in its representative capacity as parens patriae to protect the

health, safety, and well-being of its residents—not on behalf of its own

proprietary interests.5 1-ER-22; 1-ER-208; see also Alfred L. Snapp & Son, Inc.

v. Puerto Rico ex rel. Barez, 458 U.S. 592, 607 (1982). In a representative

capacity, Washington need not show that Washington itself conferred a benefit

on GEO, but only that its state residents, whom Washington has a quasi-

sovereign duty to protect, did so. See Snapp, 458 U.S. at 604–05 (reviewing

quasi-sovereign interest cases where states “[were] the proper party to represent”

“the interests of its residents”). GEO’s argument that Washington cannot

“appropriate” the detainees’ interest in payment stretches general principles

governing parens patriae cases beyond their bounds. GEO Br. at 55. While “an

interest apart from the interests of particular private parties” is certainly required

to sue as parens patriae, see, e.g., Missouri ex. rel. Koster v. Harris, 847 F.3d


      5
       On appeal, GEO does not challenge the district court’s order recognizing
that Washington has standing as parens patriae to enforce its state labor laws.
1-ER-210.


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646, 652 (9th Cir. 2017); California v. Frito-Lay, Inc., 474 F.2d 774, 775 (9th

Cir. 1973), the Supreme Court has recognized that the state’s parens patriae

interest may overlap with private parties. Snapp, 458 U.S. at 608 (recognizing,

in employment-rights case brought pursuant to parens, that “benefits [] might

accrue to [] particular individual[s]”).

      GEO relatedly argues Washington could not represent the detainees as the

detainees are not state “residents” at all. GEO Br. at 56 (citing Wash. Rev. Code

§ 29A.04.151(4)). However, a state voting law that does not consider those

incarcerated in “public prison[s]” to be Washington residents says nothing about

detainees at the NWIPC, who are not in a public prison. GEO’s citation to an

out-of-circuit opinion evaluating the intended domicile of a federal prisoner for

diversity purposes is equally inapposite. See Stifel v. Hopkins, 477 F.2d 1116,

1126 (6th Cir. 1973). Here, the undisputed trial evidence is that all of the

detainees who worked at the NWIPC also lived there, in Tacoma, Washington,

and were residents of Washington State—indeed, that is the basis for GEO’s

assertion of the Residential Exemption to the MWA. It is irrelevant that the

testifying detainees were detained during the class period because the district

court found that “there was no substantial change in the voluntary work program

or in the way it operated from 2005 . . . until now.” 1-ER-18:11–13. Since GEO



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fails to raise any real doubt that detainees before the class period were also

Washington residents, GEO’s arguments must fail.

      Second, the district court correctly concluded there was an appreciation or

knowledge by GEO of the benefit it received. See Young, 191 P.3d at 1262. At

trial, numerous GEO employees testified to the value detainee workers

contribute to the NWIPC’s operations. 1-SERWA-19:4–10, 161:7–10, 173:5–

18. That makes sense as GEO assigned detainees to the tasks it needed done to

meet its contractual obligations, including janitorial work, laundry, and meals.

2-SERWA-431–63; 1-SERWA-73:4–75:13, 13:1–16:3; 2-SERWA-424–27;

1-SERWA-215:10–219:14, 220:25–224:7. While GEO challenges the district

court’s observation that GEO knew or should have known that it must pay the

minimum wage, and repeats all its arguments regarding the “inapplicability” of

the MWA, GEO ignores the district court’s key finding regarding this prong of

unjust enrichment. The court found that “GEO was aware of the benefit

conferred on it by detainee workers, recognized it as ‘meaningful and valuable,’

and GEO itself created the detainee job descriptions, assigned detainees to

particular jobs that needed to get done, and supervised their work to ensure they

performed satisfactorily.” 1-ER-23. Since the benefits detainee workers

conferred are critical to furthering GEO’s business model, there was no clear



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error in the district court’s finding that Washington met the second prong of

unjust enrichment.

      Third, GEO does not challenge the district court’s conclusion that “it is

unjust for GEO to have paid [detainees] only $1/day from October 2005 to

present and retain the benefit of that labor while paying inadequate wages.” See

1-ER-23. Indeed, considering that detainee workers have no other means of

earning wages at the NWIPC, see 1-SERWA-199:19–200:13, there is no

question that it is unjust. GEO instead replaces the third element of an unjust

enrichment claim altogether, arguing that it is instead a prohibition on a plaintiff

“recover[ing] the value of a benefit voluntarily bestowed.” GEO Br. at 54 (citing

Lynch v. Deaconess Med. Ctr., 776 P.2d 681, 683 (1989)). Even if this were the

third prong of an unjust enrichment claim, it is no bar here.

      To show detainee workers “voluntarily bestowed” their labor, GEO must

show that detainee workers are volunteers with no expectation of payment. See

Osborn v. Boeing Airplane Co., 309 F.2d 99, 102 (9th Cir. 1962). “Volunteer”

status is determined in light of “all surrounding circumstances.” Ellenburg v.

Larson Fruit Co., 835 P.2d 225, 251–52 (Wash. Ct. App. 1992). Here, the

overwhelming evidence at trial showed that detainee workers were not

“volunteers.” They were employees. Not only did GEO solicit detainee workers



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to work, see 1-SERWA-10:8–11:14, the detainee workers had little choice but

to provide such labor as they needed money and were unable to seek other

employment. See, e.g., 1-SERWA-145:7–17, 150:1–9, 186:10–21, 193:18–25,

195:13–23, 82:12–24. Even more, there is no question that detainee workers

expected and received payment from GEO—albeit trifling wages. See, e.g.,

1-SERWA-145:7–17, 150:1–9, 193:15–194:17, 231:3–21. The question of

voluntariness does not turn on whether the workers acquiesced in the precise

amount of payment, but rather whether the workers expected payment at all. See

Osborn, 309 F.2d at 103. In short, the existence of a work agreement does not

foreclose an unjust enrichment claim or render the benefit received from them

“voluntarily bestowed.” GEO Br. at 54 (quoting Lynch, 776 P.2d at 683). Since

all three prongs of the claim were met, the district court did not clearly err in

ruling in Washington’s favor.

                            VII. CONCLUSION

      For the foregoing reasons, the Court should not disturb the jury’s verdict

on the MWA claim or the district court’s findings and conclusions on the unjust

enrichment claim. The Court should affirm.




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RESPECTFULLY SUBMITTED this 20th day of May 2022.

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                  STATEMENT OF RELATED CASES

      Pursuant to Circuit Rule 28-2.6, Plaintiff-Appellee State of Washington

states that Nwauzor et al. v. GEO Group, Inc., No. 22-3506 and Washington v.

GEO Group, Inc., No. 22-35027, are related cases pending in this court.
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9th Cir. Case Number(s)              21-36025


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STATUTORY ADDENDUM
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                         STATUTORY ADDENDUM
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Except for the following, all applicable statutes, etc., are contained in the brief
of The GEO Group, Inc.

              U.S. Const. amend. XIII                       A1
              Wash. Rev. Code § 49.46.005                   A2
              Wash. Rev. Code § 49.46.090                   A4
              Wash. Rev. Code § 72.68.010                   A5
              Wash. Rev. Code § 72.68.110                   A8
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U.S. Const. amend. XIII

Section 1. Neither slavery nor involuntary servitude, except as a punishment for

crime whereof the party shall have been duly convicted, shall exist within the

United States, or any place subject to their jurisdiction.

Section 2. Congress shall have power to enforce this article by appropriate

legislation.




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Wash. Rev. Code § 49.46.005

Declaration of necessity and police power—Conformity to modern fair

labor standards.

      (1)    Whereas the establishment of a minimum wage for employees is a

subject of vital and imminent concern to the people of this state and requires

appropriate action by the legislature to establish minimum standards of

employment within the state of Washington, therefore the legislature declares

that in its considered judgment the health, safety and the general welfare of the

citizens of this state require the enactment of this measure, and exercising its

police power, the legislature endeavors by this chapter to establish a minimum

wage for employees of this state to encourage employment opportunities within

the state. The provisions of this chapter are enacted in the exercise of the police

power of the state for the purpose of protecting the immediate and future health,

safety and welfare of the people of this state.

      (2)    Since the enactment of Washington's original minimum wage act,

the legislature and the people have repeatedly amended this chapter to establish

and enforce modern fair labor standards, including periodically updating the

minimum wage and establishing the forty-hour workweek and the right to

overtime pay.




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      (3)   The people hereby amend this chapter to conform to modern fair

labor standards by establishing a fair minimum wage and the right to paid sick

leave to protect public health and allow workers to care for the health of

themselves and their families.




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Wash. Rev. Code § 49.46.090

      Payment of amounts less than chapter requirements—Employer's

liability—Assignment of claim.

      (1)    Any employer who pays any employee less than the amounts to

which such employee is entitled under or by virtue of this chapter, shall be liable

to such employee affected for the full amount due to such employee under this

chapter, less any amount actually paid to such employee by the employer, and

for costs and such reasonable attorney's fees as may be allowed by the court.

Any agreement between such employee and the employer allowing the employee

to receive less than what is due under this chapter shall be no defense to such

action.

      (2)    At the written request of any employee paid less than the amounts

to which he or she is entitled under or by virtue of this chapter, the director may

take an assignment under this chapter or as provided in RCW 49.48.040 of such

claim in trust for the assigning employee and may bring any legal action

necessary to collect such claim, and the employer shall be required to pay the

costs and such reasonable attorney's fees as may be allowed by the court.




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Wash. Rev. Code § 72.68.010

Transfer of incarcerated individuals.

      (1)    Whenever in its judgment the best interests of the state or the

welfare of any incarcerated individual confined in any penal institution will be

better served by his or her transfer to another institution or to a foreign country

of which the incarcerated individual is a citizen or national, the secretary may

effect such transfer consistent with applicable federal laws and treaties. The

secretary has the authority to transfer incarcerated individuals between in-state

correctional facilities or to out-of-state governmental institutions if the secretary

determines that transfer is in the best interest of the state or the incarcerated

individual. The determination of what is in the best interest of the state or

incarcerated individual may include but is not limited to considerations of

overcrowding, emergency conditions, or hardship to the incarcerated individual.

In determining whether the transfer will impose a hardship on the incarcerated

individual, the secretary shall consider: (a) The location of the incarcerated

individual's family and whether the incarcerated individual has maintained

contact with members of his or her family; (b) whether, if the incarcerated

individual has maintained contact, the contact will be significantly disrupted by

the transfer due to the family's inability to maintain the contact as a result of the




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transfer; and (c) whether the incarcerated individual is enrolled in a vocational

or educational program that cannot reasonably be resumed or completed if the

incarcerated individual is transferred to another correctional institution or

returned to the state.

      (2)    (a) The secretary has the authority to transfer incarcerated

      individuals to an out-of-state private correctional entity only if:

             (i) The governor finds that an emergency exists such that the

             population of a state correctional facility exceeds its reasonable,

             maximum capacity, resulting in safety and security concerns;

             (ii) The governor has considered all other legal options to address

             capacity, including those pursuant to RCW 9.94A.870;

             (iii) The secretary determines that transfer is in the best interest of

             the state or the incarcerated individual; and

             (iv) The contract with the out-of-state private correctional entity

             includes requirements for access to public records to the same

             extent as if the facility were operated by the department,

             incarcerated individual access to the office of the corrections

             ombuds, and inspections and visits without notice.




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      (b) Should any of these requirements in this subsection not be met, the

      contract with the private correctional entity shall be terminated.

      (3)    If directed by the governor, the secretary shall, in carrying out this

section and RCW 43.06.350, adopt rules under chapter 34.05 RCW to effect the

transfer of incarcerated individuals requesting transfer to foreign countries.




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Wash. Rev. Code § 72.68.110

Contracts with private correctional entities prohibited—Exceptions.

      (1)    Except as provided in subsection (2) of this section and

RCW 72.68.010(2), the secretary is prohibited from utilizing a contract with a

private correctional entity for the transfer or placement of offenders.

      (2)    This section does not apply to:

             (a) State work release centers, juvenile residential facilities,

      nonprofit community-based alternative juvenile detention facilities, or

      nonprofit community-based alternative adult detention facilities that

      provide separate care or special treatment, operated in whole or in part by

      for-profit contractors;

             (b) Contracts for ancillary services including, but not limited to,

      medical services, educational services, repair and maintenance contracts,

      behavioral health services, or other services not directly related to the

      ownership, management, or operation of security services in a correctional

      facility; or

      (c) Tribal entities.




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               CITATION TO UNPUBLISHED OPINIONS

      (a)   Washington Court of Appeals. Unpublished opinions of the Court

of Appeals are those opinions not published in the Washington Appellate

Reports. Unpublished opinions of the Court of Appeals have no precedential

value and are not binding on any court. However, unpublished opinions of the

Court of Appeals filed on or after March 1, 2013, may be cited as nonbinding

authorities, if identified as such by the citing party, and may be accorded such

persuasive value as the court deems appropriate.




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                      CERTIFICATE OF SERVICE

      I certify that on May 20, 2022, I electronically filed the foregoing

document with the Clerk of the Court of the United States Court of Appeals for

the Ninth Circuit by using the appellate CM/ECF system. I certify that all

participants in this case are registered CM/ECF users and service will be

accomplished by the appellate CM/ECF system.



Dated: May 20, 2022

                                            s/ Marsha Chien
                                            Marsha Chien
